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                        EXHIBIT 60
      Case 1:24-cv-00648-AA                              Document 23-54                    Filed 06/20/24   Page 2 of 16EXHIBIT 60




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 2
 3
 4                             IN THE CIRCUIT COURT OF THE STATE OF OREGON

 5                                                  FOR THE COUNTY OF JACKSON

 6    In the Matter of:
 7                                                                                   Case No. 22DR17285
      Heidi Marie Brown,
 8                                         Petitioner,                               PETITIONER'S SECOND STATEMENT
               and                                                                   OF ATTORNEY FEES and REQUEST
 9                                                                                   FOR SPECIAL FINDINGS OF FACT AND
      Arnaud Paris,                                                                  CONCLUSIONS OF LAW; and
10                                                                                   SUPPORTING DECLARATION OF
                                           Respondent.                               COUNSEL
11
                                                                                     [ORCP 68)
12
13
14
                                   STATEMENT OF ATTORNEY FEES AND COSTS
15
              The undersigned attorney represents to the Court, under penalties of perjury, that the
16
     following facts offered in support of an award of reasonable and necessary attorney fees are true:
17
                           Petitioner, hereinafter Mother, is entitled to recover attorney fees and costs
18
     pursuant to the Limited Judgment for Custody, Parenting Time, and Child Support; and Money
19
     Awards, dated December 28, 2023, which awarded Mother her attorney fees and costs, id. at p.
20
     9; ORS 109.103; ORS 109.155; ORS 107.105(1)(j); ORS 109.811; the substantive provisions
21
     ofORCP 68, which allow a party to recover the reasonable value of the legal services related to
22
     the prosecution of an action, and not just the amount billed or paid itself, see ORCP 68 A(l); the
23
     procedural provisions of ORCP 68; and the supporting Declaration of Counsel, infra.
24
              2.           The number of hours and services rendered in this matter for each attorney and
25
     legal assistant and the hourly rates for each are set forth in detail on Exhibit 1. The total of
26
     reasonable attorney fees and costs sought is $15,948.20.
     Page 1        PETITIONER'S SECOND STATEMENT OF ATTORNEY FEES and
                   REQUEST FOR SPECIAL FINDINGS OF FACT AND CONCLUSIONS OF
                   LAW; and SUPPORTING DECLARATION OF COUNSEL
                   IZ:ICLIENTS\Brown, Hcldi\Sccood At1orncy foo Stalcmenl cmc.wpd)
                                                                       BUCKLEY LAWP.C.
                                                                 5300 Meadows Rd., Suite 200
                                                                   Lake Oswego, OR 97035
                                                               T:soJ.620.s900-F: soJ.620.4878     EXHIBIT 60 - PAGE 1 OF 15
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 1           3.            In accordance with ORS 20.075(1) and (2), the factors the Court should consider
 2   in determining a reasonable amount of attorney fees and costs as previously awarded are as
 3   follows:
 4           (1)           A court shall consider the following factors in determining whether to award
 5                         attorney fees in any case in which an award of attorney fees is authorized by
 6                         statute and in which the court has discretion to decide whether to award attorney

 7                         fees:
 8                         (a)           The conduct of the parties in the transactions or occurrences that gave
 9                                       rise to the litigation, including any conduct ofa party that was reckless,
10                                       willful, malicious, in bad faith or illegal.
11           This factor applies. From the start of this matter, despite the fact that he lived in Oregon,
12   Father claimed he was a resident of France. In fact, in December 12, 2022, shortly after Mother
13   had initiated this proceeding and before the parties had even litigated the residency issue, Father
14   signed a sworn federal form under penalty of perjury which indicated he was not only a US
15   citizen, but that he also resided not in France, but in California. See Declaration of Counsel,
16   infra.; see also Exhibit 2. Father's brazen misrepresentations to the Court and to lawful
17   authorities about the facts of this case are the source and sustenance of this ongoing litigation.
18   See Declaration of Counsel, infra. His misrepresentations are foundational. Id They are willful,

19   they are malicious, they are in bad faith, and they are illegal. Id.
20                         (b)           The objective reasonableness of the claims and defenses asserted by the
21                                      parties.
22              This factor applies. Mother was reasonable. See Declaration of Counsel, infra. Father

23   was not. Id
24                         (c)           The extent to which an award ofan attorney fee in the case would deter
25                                       others from asserting good faith claims or defenses in similar cases.
26           This factor does not apply.

     Page2        PETITIONER'S SECOND STATEMENT OF ATTORNEY FEES and
                  REQUEST FOR SPECIAL FINDINGS OF FACT AND CONCLUSIONS OF
                  LAW; and SUPPORTING DECLARATION OF COUNSEL
                   JZ:\CLISNTS\Brcwn, Hcidi\Sccond Attorney Foe Slalemonl emc.wpdJ
                                                                     BUCKLEY LAW P.C.
                                                                  5300 Meadows Rd., Suite 200
                                                                    Lake Oswego, OR 97035
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 1                      (d)          The extent to which an award ofan attorney fees in the case would deter
 2                                   others from asserting meritless claims and defenses.
 3            This factor applies. To the extent that others know about Father's actions, an award of
 4   attorney fees would encourage parties to work together to resolve conflict, rather than raise
 5   meritless defenses and abduct children, in violation of court orders.
 6                      (e)          The objective reasonableness of the parties and the diligence of the
 7                                   parties and their attorneys during the proceedings.
 8            This factor applies. Mother was reasonable and diligent. See Declaration of Counsel,
 9   infra. She sought discovery through counsel, and she sought to resolve the conflict. Id. Father
10   was objectively unreasonable, and filed his own contradictory and obfuscatory pleadings. Id In
11   many ways, over the last year-plus, Father in this proceeding has attempted to establish himself
12   as the preeminent vexatious litigant in the family law courts of the state of Oregon. He files bar
13   complaints against any attorney who opposes him. His unreasonable, bad faith litigation has
14   required Mother to continue being represented by an attorney, even when she can not afford
15   representation.
16                      (/)          The objective reasonableness of the parties and the diligence of the
17                                   parties in pursuing settlement of the dispute.
18            This factor applies. See Declaration of Counsel, infra.
19                      (g)          The amount that the court has awarded as a prevailing party fee under
20                                   ORS 20.190 (Prevailing party fees).
21            This factor does not apply.
22                      (h)          Such other factors as the court may consider appropriate under the
23                                   circumstances of the case.
24            This factor applies. See Declaration of Counsel.
25            (2)       A court shall consider the factors specified in subsection (1) of this section in
26                      determining the amount of an award of attorney fees in any case in which an

     Page 3     PETITIONER'S SECOND STATEMENT OF ATTORNEY FEES and
                REQUEST FOR SPECIAL FINDINGS OF FACT AND CONCLUSIONS OF
                LAW; and SUPPORTING DECLARATION OF COUNSEL
                IZ:\CLIENTS\Brown, Heidi\Sccond Atlom9 Fee Slalcmcnl cmc.wpdl
                                                                  BUCKLEY LAW P.C.
                                                             5300 Meadows Rd., Suite 200
                                                               Lake Oswego, OR 97035
                                                          T: 503.620.8900 ~ F: S03.620.4878   EXHIBIT 60 - PAGE 3 OF 15
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 1                       award ofattorney fees is authorized or required by statute. In addition, the court

 2                       shall consider the following factors in determining the amount of an award of

 3                      attorney fees in those cases:
 4                       (a)          The time and labor required in the proceeding, the novelty and difficulty
 5                                    of the questions involved in the proceeding and the skill needed to
 6                                    properly perform the legal services.

 7            This factor applies. Father's bad faith, ad hominem and injurious approach to litigation
 8   required extra time and labor. See Declaration of Counsel, infra.
 9                       (b)          The likelihood, if apparent to the clie!lf, that the acceptance of the
10                                    particular employment by the attorney would preclude the attorney from

11                                    taking other cases.
12            This factor does not apply.
13                       (c)          The fee customarily charged in the locality for similar legal services.

14            This factor appli~s. Our fees are similar to others for skilled family law attorneys in the
15   Portland metropolitan area, from whence both Father's former attorney and Mother's attorneys
16   came. See Declaration of Counsel, infra. In fact, for the past months, I have not been charging
17   Mother for my time. Id. Mother seeks attorney fees as defined by ORCP 68, i.e. the reasonable
18   value of the legal services related to the prosecution of the action. ORCP 68 A(l). This Court
19   has previously determined that the rates charged by Mother's attorneys support an award to
20   Mother of fees. Limited Judgment Re: Attorney Fees and Costs; and Money Award at p. 2,
21   entered January 2, 2024.
22                      (d)           The amount involved in the controversy and the results obtained.

23            This factor applies. See Declaration of Counsel, infra.
24                       (e)          The time limitations imposed by the client or the circumstances of the
25                                    case.
26            This factor applies. See Declaration of Counsel, infra.

     Page 4     PETITIONER'S SECOND STATEMENT OF ATTORNEY FEES and
                REQUEST FOR SPECIAL FINDINGS OF FACT AND CONCLUSIONS OF
                LAW; and SUPPORTING DECLARATION OF COUNSEL
                )Z:ICLll!NTS\Brown, Hcidi\Second Allorncy Fco Statement cmc.wpd)
                                         ,                        BUCKLEYLAWP.C.
                                                               5300 Meadows Rd., Suite 200
                                                                 Lake Oswego, OR 97035
                                                            T: 503.620.8900 ~ F: 503.620.4878   EXHIBIT 60 - PAGE 4 OF 15
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 1                          (/)          The nature and length ofthe attorney's professional relationship with the
 2                                       client.
 3            This factor applies. See Declaration of Counsel, infra.
 4                          (g)           The experience, reputation and ability of the attorney performing the
 5                                       services.
 6            This factor applies. See Declaration of Counsel, infra.
 7                          (h)           Whether the fee of the attorney is fixed or contingent.
 8            This factor does not apply.
 9            4.           In anticipation of efforts that will be spent defending this request, Mother seeks
10   the additional sum of $3,000.00, as explained more fully in the supporting Declaration of
11   Counsel, below, which amount is based in large part on Father's history of intransigence, drawn
12   out argumentation, ad hominem attacks on counsel and the court, and bad faith dealing in this
13   proceeding.
14            5.           Based upon the foregoing, Mother is entitled to an award of reasonable and
15   necessary attorney fees and costs in the sum of $18,948.20, as well as additional sums as
16   requested above in the event Father objects to this Statement. Mother further requests special
17   findings of fact and conclusions of law.
18            DATED this 11th day of January, 2024.
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22                                                                                                  m
                                                                                                   itioner/Moth
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25                                    SUPPORTING DECLARATION OF COUNSE1:,
26            I, TAYLOR L. M. MURDOCH, declare as follows:

     Page 5        PETITIONER'S SECOND STATEMENT OF ATTORNEY FEES and
                   REQUEST FOR SPECIAL FINDINGS OF FACT AND CONCLUSIONS OF
                   LAW; and SUPPORTING DECLARATION OF COUNSEL
                   IZ:\CLIENl'S\Brown, Hcidi\Sccond Attorney Fee Slalcmenl emc.wpd)
                                                                      BUCKLEY LAW P.C.
                                                                   5300 Meadows Rd., Suite 200
                                                                    Lake Oswego, OR 9703S
                                                               T: 503,620.8900 - F: 503.620.4878     EXHIBIT 60 - PAGE 5 OF 15
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 1            1.           I am the attorney for the Petitioner, hereinafter Mother, in this matter. I make this
2    declaration in support of Petitioner 's Second Statement ofAttorney Fees and Requestfor Special
 3   Findings of Fact and Conclusions ofLaw, supra.

 4            2.           Buckley Law P.C. performed the services itemized on the billing summary
 5   attached hereto, and by this reference incorporated herein as Exhibit l. These services were for
 6   the period of time from May 31, 2023 to present. Mother was previously awarded her attorney
 7   fees regarding jurisdiction. See Limited Judgment Re: Attorney Fees and Costs; Money Award,
 8   which was entered on January 2nd, 2024. Mother seeks only an award for additional attorney fees

 9   services that were not previously awarded to her.
10            3.           All attorney fees incurred were reasonable and necessary in our efforts to obtain

11   the Limited Judgment Re: Custody, Parenting Time, and Child Support; and Money Awards,
12   entered on December 28, 2024. These services were performed at the hourly rates set forth in
13   Exhibit 1. Costs incurred are reflected in summary on Exhibit 2.
14            4.           My hourly rate is $395 per hour and was $380 per hour in 2023. I am a shareholder
15   in the firm of Buckley Law P .C. I have worked in litigation-oriented law firms for the last 17
16   years, including in a capital defense trial litigation office in New Orleans, Louisiana, and in the
17   Office of the Oregon Attorney General. I have been recognized as a rising star by Super Lawyers
18   for 2018-2022. I am a former city prosecutor for the cities of Eugene and Springfield. I have
19   practiced family law for twelve years, and have specialized in family law exclusively for the last
20   ten years. Attorney Katelyn Skinner has practiced law for thirteen years, and represented Mother
21   in her Hague litigation with Father in December, 2022, in which Mother prevailed. Attorney
22   Katrina Seipel has practiced law for seven years. Attorney Noah Morss has practiced law for six
23   years. Attorney Alexis Fisher Pooley has practiced family law for two years. Attorney Matthew
24   Borghard has practiced family law for two years. Paralegal Wendy Goodyear has worked as a
25   paralegal and legal assistant for twenty-five years. Paralegal Mark Warner has worked in family
26   law for approximately twenty years. Paralegal Erin Culpepper has worked as a paralegal and

     Page 6        PETITIONER'S SECOND STATEMENT OF ATTORNEY FEES and
                   REQUEST FOR SPECIAL FINDINGS OF FACT AND CONCLUSIONS OF
                   LAW; and SUPPORTING DECLARATION OF COUNSEL
                   (Z:\CLJENTS\Brown, Heid~Sccond /\llomcy fee Statement cmc.wpd)
                                                                    BUCKLEY LAW P.C.
                                                                 5300 Meadows Rd., Suite 200
                                                                   Lake Oswego, OR 97035
                                                              T: 503.620.8900 - F: 503.620.4878   EXHIBIT 60 - PAGE 6 OF 15
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 1   legal assistant for eleven years, exclusively in family law for six years. Legal assistant Megan
 2   Johnson has been a legal assistant for one year, and has worked in family law for four years.
 3   Legal assistant Monica Via has worked in law for approximately ten years.
 4            5.           On December 28, 2023 the Court awarded Mother her attorney fees and costs. As
 5   noted above, by statute, "attorney fees" are not just the amount of fees an attorney charges a client
 6   such as Mother. Attorney fees are the reasonable value of the legal services related to the
 7   prosecution of an action. ORCP 68 A(l ). The Court has previously determined that the rates
 8   charged by Mother's attorneys are reasonable. See Limited Judgment Re: Attorney Fees and
 9   Costs; and Money Award, entered herein on January 2, 2024.
10            6.           The factors the court should consider in assessing attorney fees include the time
11   an attorney devotes to a case, the ultimate disposition, the complexity of the issues, the value of
12   interests involved, and the professional reputation of the attorney. Ashley v. Garrison, 162 Or
13   App 585, 591-592; 986 P.2d 654,658 (1999). Whether Mother actually paid for the reasonable
14   value of the legal services related to the prosecution of the action is irrelevant. Id I have not
15   been charging Mother for my time for months; she has actually incurred ongoing costs, however.
16   Accordingly, Mother has included in this Statement the attorney fees she has incurred at the
17   values her attorneys normally charge for them, whether or not she has been charged for them.
18            7.           My firm has worked with Mother since her Hague Convention Proceeding in US
19   District Court in late 2022. I have known Mother since April, 2023. Mother is practical,
20   thoughtful, insightful, and devoted to her children. It has been my honor to advocate for her,
21   especially given the vexatious litigation that Father has foisted upon her.

22            8.           This matter presented numerous complications, not least of which is Father's
23   belligerence toward anyone who stands in the way of his bad faith litigation. His ongoing
24   misrepresentations to lawful authorities have required a "whack-a-mole" approach and
25   consistently required my attention. To date, he has sought to register the French court's orders-
26   which are unenforceable in the United States under the UCCJEA- in approximately thirteen other

     Page 7        PETITIONER'S SECOND STATEMENT OF ATTORNEY FEES and
                   REQUEST FOR SPECIAL FINDINGS OF FACT AND CONCLUSIONS OF
                   LAW; and SUPPORTING DECLARATION OF COUNSEL
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                                                                       BUCKLEY LAW P.C.
                                                                 5300 Meadows Rd., Suite 200
                                                                   Lake Oswego, OR 97035
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 1   jurisdictions, as well as Multnomah County, Oregon. This egregious conduct alone encourages
 2   an award of attorney fees as requested against Father.
 3            9.           From the start, Father has claimed that this Court does not have jurisdiction over
 4   the children, because he was not a resident of the United States and continued to live in France.
 5   This argument, of course, was upon close review ridiculous. Father and the girls and Mother all
 6   lived in Ashland, Oregon at the time of the petition for custody was filed in October, 2022. As
 7   the Court found in the companion 23DR08269 case, "Father lived in Oregon October 7, 2022.
 8   He loves his children and would not live in France away from them." Limited Judgment Re:
 9   Registration at p. 10, signed August 18, 2023.

              10.          J.:~ther is a dual citizen of both the U.S. and France, and apparently makes
11   whatever argument suits him for his residency, in any given situation. During the discovery in
12   this matter, Mother obtained Father's immigration paperwork from his former employer, which
13   he completed in December of 2022. See Exhibit 2. Father clearly indicated on his I-9 form that
14   in December, 2022 his residential address was in Topanga, California. Id. at p. 1. Father
15   acknowledged on the same document that he was a U.S. citizen. Id. His later protestations to this
16   court that he remained a resident of France were in direct contravention to what he told his
17   employer and U.S. immigration authorities.
18            11.          Father was a resident of California for tax purposes; a resident of France for his
19   arguments in court; and a resident of Oregon, and eventually Oregon and Texas, in fact.
20            12.          When Father did not like the outcome of the hearing after he abducted the
21   children, he attacked me personally. When the Court ruled against Father, he filed a federal
22   lawsuit against it. The reason for the fees incurred herein is the same reason for Father's
23   contemptuous actions: Father refuses to acknowledge this court's power over him. I have
24   continued to advocate on Mother's behalf because doing so is the right thing to do.
25            13.          In my experience with Father, whether through counsel or as a self-represented
26   litigant, he insists on litigation, and makes it as difficult as possible, especially when it is obvious

     Page 8        PETITIONER'S SECOND STATEMENT OF ATTORNEY FEES and
                   REQUEST FOR SPECIAL FINDINGS OF FACT AND CONCLUSIONS OF
                   LAW; and SUPPORTING DECLARATION OF COUNSEL
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                                                                     BUCKLEY LAW P.C.
                                                                 5300 Meadows Rd., Suite 200
                                                                   Lake Oswego, OR 97035
                                                              T: 503.620.8900 ~ F: 503.620.4878   EXHIBIT 60 - PAGE 8 OF 15
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 1   his position is meritless. In the event that Father files an objection and a hearing is held on this
 2   matter, I expect an additional four to five hours of my time to respond to his objection and
 3   prepare a response, plus additional staff time. This would require an additional $3,000 in attorney
 4   fees ifrequired to defend against objections to the foregoing Statement.
 5            14.       For the foregoing reasons, Mother requests an award of attorney fees and costs in
 6   the sum of $18,948.20.
 7
          IHEREBYDECLARETHATTHEABOVESTATEMENTSARETRUETOTHE
 8   BEST OF MY KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND THAT
 9   THEY ARE MADE FOR USE AS EVIDENCE IN COURT AND ARE SUBJECT TO
     PENALTY FOR PERJURY.
10
              DATED this 11 th day of January, 2024.
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                                                                             of ·                        ·her
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     Page 9     PETITIONER'S SECOND STATEMENT OF ATTORNEY FEES and
                REQUEST FOR SPECIAL FINDINGS OF FACT AND CONCLUSIONS OF
                LAW; and SUPPORTING DECLARATION OF COUNSEL
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                                                                   BUCKLEY LAW P.C.
                                                              5300 Meadows Rd., Suite 200
                                                                Lake Oswego, OR 97035          EXHIBIT 60 - PAGE 9 OF 15
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      Case 1:24-cv-00648-AA                        Document 23-54                      Filed 06/20/24    Page 11 of 16




 1
 2                                               CERTIFICATE OF SERVICE
 3          I hereby certify that I served the foregoing PETITIONER'S SECOND STATEMENT OF
 4   ATTORNEY FEES and REQUEST FOR SPECIAL FINDINGS OF FACT AND
 5   CONCLUSIONS OF LAW; and SUPPORTING DECLARATION OF COUNSEL on:
 6                                                         Arnaud Paris
                                                      13 Rue Ferdinand Duval
 7                                                       Paris France 75004
 8                                                  Respondent/Father, Pro Se
 9   by the following indicated method or methods:
10                    by emailing a true copy to the individual above on the date set forth below.

11
            DATED this 11 th day of January, 2024.
12
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                                                            By:
15
                                                                             .   . btJcklcy..;
16                                                                       o •Attorneys fi             er/Moth

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     Page 10 PETITIONER'S SECOND STATEMENT OF ATTORNEY FEES and
             REQUEST FOR SPECIAL FINDINGS OF FACT AND CONCLUSIONS OF
             LAW; and SUPPORTING DECLARATION OF COUNSEL
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                                                             BUCKLEY LAW P.C.
                                                          5300 Meadows Rd., Suite 200
                                                            LakeOswego,OR 97035                  EXHIBIT 60 - PAGE 10 OF 15
                                                       T: 503.620.8900 ~F: 503.620.4878
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                                                                            EXHIBIT 1

                                                     Petitioner's Second Statement of Attorney Fees




             AFP    09/11/2023    1.20    $275.00    $330.DO     Professional Fee    Review yellow notice requirements and procedures; Forward to TLM
             EMC    08/02/2023    3.00    $195.00    $585.00     Professional Fee    Receive pleadings; save to client file; email to client; coordinate transcripts;
                                                                                     electronically file pleadings;
             EMC    08/03/2023    3.00    $195.00    S585,0D     Professional Fee    Receive pleadings; save to client file; email to client; coordinate transcripts;
                                                                                     electronically file pleadings;
             EMC    08/11/2023    4.00    $195.00    $780.00     Professional Fee    Review mid edit limited judgment; email to Ms. Root for input and review; revise as
                                                                                     per Ms. Root; email to Attorney Murdoch.
             EMC    09/26/2023    0.20    U95.00     $39.00      Professional Fee    Receive email from Arnaud with registration In Mu lt County; save to file; docket
                                                                                     deadline
             EMC    09/27/2023    0.90    .$195.00   $175.SO     Professional Fee    Review and flnalizc Petitioner's Repsonsc to Respondent's Objections to Statement of
                                                                                     Attorney Fees and Costs; electronically file; email and mall same
             EMC    10/06/2023    0.70    $195.00    $136.50     Professional Fee    Email to client with sample contempt pleadings. Receive email from Arnaud; forward
                                                                                     to cUent. Emall to client with sample enforcement pleadings
             EMC    10/10/2023    0.10    $195.00     $19.50     Professional Jlee   Email from Arnaud to the court; email same to client
             EMC    10/12/2023    0.80    $195,00    $156.00     Professional Fee    Finalize Motion to Strike; electronically file; email and mail same
             EMC    10/23/2023    D.2D    $195.00     $39.00     Professional Pee    Print declaration for 1\ttorney Murdoch signature; scan and email same to Mr. Stoll

             EMC    11/06/2023    1.10    $195.00    $214.50     Professional Fee    Draft and finalize motion, declaration and order to withdraw; clectronically file; email
                                                                                     and mail same
             KAS    09/12/2023    0.30    $340.00    $102.00     Professional Fee    Confer with Attorney Murdoch regarding case/next steps/llague issues
             KAS    11/14/2023    0.2D    $340.00     $68.00     Professional l'ee   Confer with Attorney Murdoch regarding warrant process
             KOS    12/29/2023    0.10    $410.00     $41.00     Professional Fee    Email to client
             KOS    01/02/2024    D.30    $450.00    $13S.OO     Professional Fee    Call with client; confer with Attorney Murdoch
             LWD    09/07/2023    D.40    S140.00     $56.00     Professional Fee    Organize postage refund for returned international mailing; scan & save customs
                                                                                     receipt for successful ma[Ung; scan & file envelops of failed mailing for posterity
             LWD    09/13/2023    0.10    $140.00     $14.00     Professional Fee    Save documents received from opposing party
             MB     05/31/202.3   0.20    $310.00     $62.00     Professional Fee    Review emails between client and Attorney Skinner re: DllS
             MGV    09/01/2023    0.30    $125.00     $37.50     Professional Fee    Compose email correspondence to opposing counsel regarding, pleadings in matter.

             MGV    09/11/2023    0.20    $125.00     $25.00     Professional Fee    Save emails regarding parental abduction and next steps; docket deadline for motion
                                                                                     to strike and/or a response.
             MGV    09/13/2023    0.20    $125.00     $25.00     Professional Fee    Save notice or trial readiness; docket deadline to email Judge Orr's judicial assistant
                                                                                     regarding a trial date.
             MGV    10/12/2023    0.10    $125.00     $12..50    Professional Fee    Mail out copy of Petitioner's Motion to Strike Respondent's Third Motion to Dismiss for
                                                                                     Lack of Subfect Matter Jurisdiction to opposing party
             MKf    10/19/2023    0.50    $125.00     $62.50     Professional Fee    Begin transcribing portion of07 /12/23 hearing
             MKJ    10/20/2023    a.so    $125.00     $62.50     Professional Fee    Continue to listen to !'TR from 07 /12/23 to find relevant portion of FTR to have
                                                                                     transcribed
             MKJ    10/24/2023    0.50    $125.00     S62.50     Professional Fee    Call to Jackson County clerk regarding request for clerk's log for FTR from 07 /12/23
                                                                                     (.2.); emails with transcriber regarding transcription request ofFTR from 07 /12/23

             NitM   09/12/2D23    0.90    $310.00    $279.00     Professional Fee    Draft Limited ludgment regarding attorney fees
             NHM    09/20/2023    1.00    $310.00    $310.00     Professional Fee    Draft a motion to strike opposing party's motion to dismiss
             NHM    09/21/2D23    2.80    $310.00    $868.00     Professional Fee    Pinish drafting the Motion to Strike the opposing party's most recent motion to dismiss

             TLM    08/10/2023    0.20    $380.00     $76.00     Professional Fee    Receive email with attached pleadings; save to client flle; email same to client
             TLM    08/14/2023    0.2.0   $380.00     $76.00     Professional Pee    Email attorney regarding remote appearance
             TLM    08/2.0/2023   0.30    $380.00    $114.00     Professional Fee    Email client regarding attorney fee question; email attorney Farrugia
             TLM    08/22/2023    0.20    $380.00     $76,00     Professional Fee    Receive Notices from the court; download notices and orders; email same to client

             TLM    08/23/2023    0.30    $380.00    $114.00     Professional Fee    Emails with client
             TLM    08/24/2023    0.30    $380.00    $114.00     Professional Fee    Emails with client and attorney Root regarding no fly hearing
             TLM    OB/28/20.!3   0.20    $380.00     $76.00     Professional Fee    Email client update
             TLM    08/29/2023    1.20    $380.00    $456.00     Professional Fee    Emails with client and attorney Carty regarding attorney fee statement; email client;
                                                                                     prepare sta temcnt
             TLM    09/01/2023    0.20    $380.00     $76.00     Professional Fee    Phone call with attorney Stoll; review and send pleadlTJgs to same
             TLM    09/05/2023    4.00    $380.00    $1,520.00   Professional Fee    Prepare and revise statement of attorney fees and costs; draft cover letter to Arnaud
                                                                                     Paris; email Mr. Paris; mail statement
             TLM    09/07/2023    0.20    $380,00    $76.0D      Professional Fee    Mall statement of attorney fees and costs
             TLM    09/08/2023    1.00    $380.00    $380.00     Professional Fee    Emails with client regarding Arnaud Paris email and motion to dismiss date; review
                                                                                     latest Arnaud Paris motion and send to client
             TLM    09/12/20;!3   1.20    $3B0.00    $•156.00    Profes.~ional rec   Emails with client and phone conference with Sandrtne regarding strategy; email client
                                                                                     trial dates; emails regarding trial scheduling
             TLM    09/13/2023    1.20    $3B0.00    $456.00     Professional Fee    Draft lengthy summary email to client; email cllent; phone call and messages with
                                                                                     client regarding dividing chlldren as settlement
             TLM    09/18/2023    0.20    $380.00    $76.00      Profosslonal Fee    Receive email with attached pleadings; save to client file; email same to client.
             TLM    10/03/2023    0.20    $3B0.00     $76.00     Professional Fee    Receive email with attached pleadings; save to client file; email sami, to client
             TLM    10/12/2023    0.20    $380.00    $76.0D      Professional Fee    Receive email with attached pleadings; save to client file; email same to client.
             TLM    10/19/2023    0.40    $380.00    $152.00     Professional fee    Receive multiple emails from Respondent attaching pleadings; save to client file; email
                                                                                     same to ell en t.
             TLM    10/31/2023    0.20    $380.00     S76.00     Professional Fee    Email Re Scheduling




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                                                                                                           EXHIBIT 60 - PAGE 11 OF15
                     Case 1:24-cv-00648-AA                        Document 23-54                    Filed 06/20/24                    Page 13 of 16

                                                                                EXHIBIT 1


                                                         Petitioner's Second Statement of Attorney Fees




              TLM    11/09/2023     0.40      $380.00    $152.00     Professional Fee    Receive multiple emails from Respondent attaching pleadings; save to client nle; email
                                                                                         same to client,
              TI.M    11/13/2023    0.40      $380.00    $152.00     Professional Fee    Receive multiple emails from Respondent attaching pleadings; save to client Ille; email
                                                                                         same to client.
              TLM     11/13/2023    1.00      $380.00    $380.00     Professional Fee    Review and forward five motions to client from Arnaud Paris; email client regarding
                                                                                         contempt suggestions; call client
              TLM     11/16/2023    0.20      $380.00     $76.00     Professional Fee    Receive email with attached pleadings; save to client file; email same to client.
              TLM     11/16/2023    0.40      $380.00    $152.00     Professional Fee    Send conferral email to Arnaud Paris regarding discovery; email re
              TLM     11/20/2023    1.00      $380.00    $380.00     Professional Fee    Draft subpoena to attorney Lechman-su; email to Respondent
              TLM     11/24/2023    0.20      $380.00     $76.00     Professional Fee    Receive email with attached pleadings; save to client flfo; email same to client
              TLM     11/27/2023    2.00      $380.00    $760.00     Professional Fee    Draft Motion to Compel; email client; Ille same; draft subpoena; email same
              TLM     12/11/2023    1.00      $380.00    $380.00     Professional l'ee   l'lnalize order for return of children; email cllent regarding same; draft cover letter to
                                                                                         Arnaud Paris: finalize same; draft email to Arnaud Paris encl order
              TLM     12/12/2023    0,20      $380.00     $76.00     Professional Fee    Emails with cllcnt regarding subpoenas
              TLM     12/14/2.023   0.20      $380.00     $76.00     Professional Fee    Receive email with attached pleadings; save to client file; email same to client.
              TLM     12/14/2023    3.00      $3B0.00   $1,140.00    Professional f'ee   Revise judgment; meet with client; serve pleadings on Respondent
              TLM     12/17/2023    0.20      $380.00     $76.00     Professional Fee    Review subpoena records; email client regarding same
              TLM     12/18/2023    0.20      $380,00     $76,00     Professional Fee    Receive cmatl with attached pleadings; save to cltcnt file; email same to client.
              TLM     12/19/2023    0.20      $380.00     $76.00     Professional Fee    Receive email with attached pleadings; save to client file; email same to client.
              TLM     12/20/2023    0.50      $380.00    $190.00     Professional Fee    Receive Notices from the court; download notices and orders; email same to clien~
                                                                                         email subpoena documents co Respondent
              Tl,M    12/26/2023    0.20      $380.00    $76.00      Professional Fee    Receive Notices from the court; download notices and orders; email same to client

              TLM     12/28/2023    1.00      $380.00    $380.00     Professional Pee    Receive email with attached pleadings; save to client file; email same to client; email
                                                                                         justment to Respondent; debrief with client.
              TLM     12/29/2023    0.20      $380.00    $76.00      Professional Fee    Receive Notices from the court; download notices and orders; email same to client

              TLM     01L11t2024     2.00     $395.00   $790.00    Professional Fee      Prepare statement of attorney fees and casts (actual time 5 hours)
                           Total:   50,20               $1S,344.S0

                                      GRAND TOTAL:      $15,948.20

                      HARD COSTS:

                      09/08/2023              $42.50                                     Check issued to: Taylor Murdoch - Postage Reimbursement (Pleading to France)

                      09/12/202.3             $99.97                                     Check issued to: Thomson Reuters - West Payment Center• Electronic Research (EMC)

                      09/21/2023              $95.14                                     Check issued to: Thomson Reuters - West Payment Center - Electronic Research
                                                                                         (NHM)
                      09/26/2023              $38.61                                     Check Issued to: Thomson Reuters• West Payment Center· Electronic Research [TLM)

                      10/26/2023              $121.75                                    Check issued to: Lee Berger&Associates, Inc- rTR Transcription (7/13/23 Hearing)

                      11/08/2023              $205.73                                    Check issued to: Thomson Reuters - West Payment Center- Electronic Research {TLM}

                                     Total:   $603.70




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                                              Employment Eligibility Verification                                                               users
                                                Department or Homeland Security                                                                Form I-9
                                                                                                                                          0MB No. 16 L5-00•J7
                                             U.S. Citizenship and Immigration Seivices                                                     Expire~ 10/Jli~0n


► START HERE.: Read Instructions carefully before completing this form. The Instructions must be available, either In paper or electronically,
during completion of this form. Employers are liable for erro~ In the completion of this form.
ANTI-DISCRIMINATION NOTICE: It is illegal to discriminate against wor1<-authorized individuals Employers CANNOT specify which document(s) an
employee may present to eslablish employment authorization and identity The refusal to hire or continue to employ an individual because lhe
documentation presented has a future expiralion date may also constitute illegal discrimination.

Sec:tibn .1. Ef:nplp'yeeJnforination and-:Attestatlon {Employees must com,pfete and sign Sect/oh fof.iFDmJ 1-9 no later • . '
tiuij, thi;rlrst d~y ol:~n1pl~y/neryt(but not before accepting a fob offer.) • .: _·._ .     •      : ·: ' • . , . •
Last Name (Family Name)                            First Name (Given Name)                      Middle Initial    Other Last Names Used (if any)

Paris                                              Arnaud                                       N/A                N/A
Address (Slreet Number and Name)                             Apt. Number       City or Town                                Slate        ZIP Code

1111 N Topanga Ca~1yon Blvd                                  N/A                Topanga.                                    CA          90290
Dale of Birth (mmlddlyyyy)       U.S. Social Security Number          Employee's E-mail Address                          Employee's Telephone Number

 04/14                           ~kkfaJ arnaud@skyvr.com                                                                 N/A
I am aware that federal law provides for imprisonment and/or fines for false statements or use of false documents in
connection with the completion of this form.
I attest, under penalty of perjury, that I am (check one of the followlng boxes):

[i] 1. A citizen of the United States
0 2. A noncitizen national of the United Stales (See instmctions)
D 3. A lawful permanent resident (Alien Regislrolion Number/USCIS Number):                    N/A
0 4. An alien authorized lo wor1': until (expiration date, if applicable, mm/ddtyyyy):        Nf.A
       Some aliens may write "NIA" in the expiration date field. (See i11s/1L1cl1011s)
                                                                                                                                    QR Code• Sectioo 1
 Aliens authorized to work must provide only one of the following document numbeIs to complete Form 1-9:                         Do Nol Wnte In This Space
 An Alien Registration N11mberlUSCIS Number OR Fo,m 1:94 Admission Number OR Foreign Passport Number.

  1. Alien Registration Number/USCIS Number:            NLA
                        OR
  2. Form 1-94 Admission Number:        N/A
                        OR
  3. Foreign Passport Number:       N/A
     Country of Issuance:      N/A

                                                                                                   Today's Date (mmlcfd13/yy)
                                                                                                                                   12/12/2022




I attest, under penalty of perjury, that I have assisted in the completion of Section 1 of this form and that to the best of my
knowledge the Information Is true and correct.
Signature of Preparer or Translator                                                                              Today's Date (mmli;Jd/yWY)


Lasl Name (Family Name)                                                             First Name (Given Name)



Address (Street Number and Name)                                             City or Town                                  Slate       ZIP Code




Form I-9 10.'2112019                                                                                   EXHIBIT 60 - PAGE 13 OF 1~ge 1 of3
                 Case 1:24-cv-00648-AA                                        Document 23-54                Filed 06/20/24              Page 15 of 16
                                                   Employment Eligibility Verification                                                                                  USCIS
                                                    Department of Homeland Security                                                                                    Form 1-9
                                                                                                                                                                  0MB No. 161S-0047
                                                 U.S. Citizenship and Immigration Services                                                                         Expires I 0/31/2022


Section· 2.-- ~mpl9y~r or 'Auttl()fized Reptesei,tati~eJ~eview ~.ndJ(erJficatipn • .. • . . . , / . , >                                                                .' " ,      '.   •.: ...
'(Empt'?yilrs or thelra~thg(lz,ec[ reprfofcintat(ve mustcpmpJeie,anct,~ign Section 2 within '3bus1Hes,s',days of the ·employefs.~rst day'.o(empJoyment. '(ou.
 musf physica/ly.examihe-0i"lci.aocument from List A OR·a combination of one document from list B and one ilocumeiltfrom LisiC as llited on the "Lists
 ofMciipt13.6le_'ticii;~mentltJX   <    \,< -~--: •·:. :...···::: ::, ·;;/'. .,·..•• •. · .• • "\·,: :: ·/,'L\..._.}'.: ·. , .. : ·: >). \ ·:::,::::. t\,~ ':: '·, ' . .. ',
                                         Last Name (Family Name)                                 IFirst Name (Given Name)            IM.I.    !Citizenship/Immigration Status
Employee Info from Section 1

                          List A
                                       !Paris OR                                                  Arnaud
                                                                                             List B                        AND
                                                                                                                                                  1
                                                                                                                                                               List C
   Identity and Employment Authorization                                                     Identity                                             Employment Authorization
                                                          ,..
 Document Title                                                         Document Title                                        Document Title
US Passport                                                             N/A                                                   N/A
 Issuing Authority                                                      Issuing Authority                                     Issuing Authority
United States                                             ..
                                                          '.
                                                                        N/A                                                   N/A
Document Number                                                         Document Number                                       Document Number
1-0583
                                                          C
                                                               " N/A                                                          N/A
Expiration Date (if any) (mmldd/yyyy)                                   Expiration Date (if any) (mmldd!yyyy)                 Expiration Date (if any) (mmldd/yyyy}
05/01/2027                                                          . N/A                                                     N/A
Document Title
N/A                                                       ),'
                                                                                                                                                      QR Cod<> • Sections 2 & 3
Issuing Authority                                              '         Additional Information                                                       Do Not Write In This Spaca
N/A
Document Number
N/A
Expiration Date (if any) (mmldd/yyyy)
                                                               T,
N/A                                                                .,
Document Title                                            ,;;
                                                           .'.';


NIA
Issuing Authority
N/A                                                       \
Document Number                                           {'
                                                          ,'
N/A
Expiration Date (if any) (mmldd/yyyy)
                                                          .-;,


N/A

Certification: I attest, under penalty of perjury, that (1) I have examined the document(s) presented by the above-named employee,
(2) the above-listed document(s) appear to be genuine and to relate to the employee named, and (3) to the best of my knowledge the
employee is authorized to work in the United States.
The employee's first day of employment (mm/dd/yyyy):                                        12/12/2022              (See instructions for exemptions)

Signature of Employer or Authorized Representative                                   Today's Date (mmldd/yyyy)         Title of Employer or Authorized Representative
                     r,                                                                12/12/2022                       CEO
Last NarnE'!         loyer or Authorized Representative                 First Name of Employer or Authorized Representative Employer's Business or Organization Name
 Goetgeluk                                                              Jan                                                   Virtuix Inc
Employer's Business or Organization Address (Street Number and Name)                              City or Town                            State             ZIP Code
 1826 Kramer Ln, Suite H                                                                          Austin                                     TX              78758


A. New Name (if applicable)                                                                                                 B. Date of Rehire (if applicable)
 Last Name (Family Name)                         IFirst Name (Given Name)                               I Middle Initial    Date (mmldd/yyyy}


C. If the employee·~ previous gra_nt of employment auttiorizatioi:, has expired, provide the information for the document_ or ~eceipt that establishes
continuing employment authorization in the space provided below.                               "
Document Title                                                                         I Document Number                              I Expiration Date (if any) (mmldd/yyyy)


I attest, under penalty of perjury, that to the best of my knowledge, this employee is authorized to work in the United States, and if
the employee presented document(s), the document(s) I have examined appear to be genuine and to relate to the individual.
Signature of Employer or Authorized Representative                            Today's Date (mm/dd/yyyy)        Name of Employer or Authorized Representative




Form I-9 10/21/2019                                                                                                                                                             Page 2 of3
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                                           LISTS Of ACCEPTABLE DOCUMENTS
                                            All documents must be UNEXPIRED
                                        Employees may present one selection from List A
                            or a combination of one selection from List B and one selection from List C.
                                                '~-:_!
                   LIST A                                                           LISTB                                   LISTC
                                                                   ,,
        Documents that Establish                ,,. ·,}                     Documents that Establish               Documents that Establish
                                                    -~
           Both Identity and                             .:;                       Identity                        Employment Authorization
        Employment Authorization                oR
                                                ;             '•""'
                                                                                                       AND
                                                             ,,

1. U.S. Passport or U.S. Passport Card              ', 1. Driver's license or ID card issued by a         1. A Social Security Account Number
                                                         ;

                                                    '.      State or outlying possession of the              card, unless the card includes one of
2. Permanent Resident Card or Alien           ··,·: '',
                                                            United States provided it contains a             the following restrictions:
   Registration Receipt Card (Form 1-551}       <        ',;


                                                            photograph or information such as                   (1) NOT VALID FOR EMPLOYMENT
                                                      ·,
                                                         ,  name, date of birth, gender, height, eye
                                                                   ,

3. Foreign passport that contains a             "
                                                            color, and address                                  (2) VALID FOR WORK ONLY V\/ITH
   temporary 1-551 stamp or temporary            ,·'
                                                                                                                    INS AUTHORIZATION
   1-551 printed notation on a machine-                  2. ID card issued by federal, state or local           (3) VALID FOR WORK ONLY WITH
   readable immigrant visa                          ,',     government agencies or entities,
                                                    ..                                                              DHS AUTHORIZATION
                                                            provided it contains a photograph or
4. Employment Authorization Document
   that contains a photograph (Form             ,
                                                       '           .
                                                            information such as name, date of blrth,
                                                               ;•-



                                                            gender, height, eye color, and address
                                                                   C
                                                                                                          2. Certification of report of birth issued
                                                                                                                by the Department of State (Forms
   1-766)                                                                                                       DS-1350, FS-545, FS-240)
                                              -" : ' . 3. School ID card with a photograph
                                                               ,




5. For a nonimmigrant alien authorized                 1
                                                                                                          3. Original or certified copy of birth
   to work for a specific employer                .. 4. Voter's registration card                               certificate issued by a State,
   because of his or her status:              ~f.•",
                                              ·<··'
                                                                                                                county, municipal authority, or
   a. Foreign passport; and                   ~>     . ; 5. U.S. Military card or draft record                  territory of the United States
                                                                                                                bearing an official seal
   b. Form 1-94 or Form l-94A that has                   6. Military dependent's ID card
                                                             ··-.i.'




      the following:                          ',i;,.,, 7, U.S. Coast Guard Merchant Mariner               4. Native American tribal document
      (1) The same name as the passport;                    Card                                          5. U.S. Citizen ID Card (Form 1-197)
          and                                    ,::, 8. Native American tribal document
      (2) An endorsement of the alien's                                                                   6. Identification Card for Use of
          nonimmigrant status as long as        /~       9. Driver's license issued by a Canadian
                                                            government authority
                                                                                                                Resident Citizen in the United
                                                                                                                States (Form 1-179)
          that period of endorsement has
                                              ...'
          not yet expired and the                   ,'·
                                                    -

          proposed employment is not in       -·          For persons under age 18 who are                7. Employment authorization
          conflict with any restrictions or                                                                     document issued by the
                                                :
                                                            unable to present a document
          limitations identified on the form.                                                                   Department of Homeland Security
                                                        ,              ,

                                                                        listed above:
6. Passport from the Federated States               '~:
    of Micronesia (FSM) or the Republic  ··-:~·''
                                                    <
                                                  10. School record or report card
    of the Marshall Islands (RMI) with    ;' '; 11. Clinic, doctor, or hospital record
    Form 1-94 or Form l-94A indicating
    nonimmigrant admission under the
                                                .   ,·         l'


                                                  12. Day-care or nursery school record
    Compact of Free Association Between
                                          ;;
    the United States and the FSM or RMI      ..    '




                                                                   :,



           Examples of many of these documents appear in the Handbook for Employers (M-274).


                       Refer to the instructions for more information about acceptable receipts.




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